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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                GAINESVILLE DIVISION

 IN RE:
                                                       CHAPTER 13
 TRACI MARIE ST. CLAIRE,
                                                       CASE NO. 21-21231-jrs
          Debtor.

                                       NOTICE OF HEARING

       PLEASE TAKE NOTICE that on July 20, 2022, Traci Marie St. Claire (“Debtor”) filed a
Motion to Approve Loan Modification (the “Motion”).

       PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic hearing
for announcements on the Motion at the following toll-free number: 833-568-8864; access code 161
418 0533, at 9:40 a.m. on August 11, 2022 in Courtroom 103, United States Courthouse, 121
Spring Street SE, Gainesville, Georgia 30501.

        Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as determined by
the Court in connection with this initial telephonic hearing. Please review the “Hearing Information”
tab on the judge’s webpage, which can be found under the “Dial-in and Virtual Bankruptcy Hearing
Information” link at the top of the webpage for this Court, www.ganb.uscourts.gov for more
information.

         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.) If you do not want the court to grant the
relief sought in these pleadings or if you want the court to consider your views, then you and/or your
attorney must attend the hearing. You may also file a written response to the pleading with the Clerk
at the address stated below, but you are not required to do so. If you file a written response, you must
attach a certificate stating when, how and on whom (including addresses) you served the response.
Mail or deliver your response so that it is received by the Clerk at least two business days before the
hearing. The address of the Clerk's Office is Clerk, U. S. Bankruptcy Court, Room 120, 121 Spring
Street SE, Gainesville, Georgia 30501. You must also mail a copy of your response to the undersigned
at the address stated below.

        This 20th day of July, 2022.           JONES & WALDEN LLC
                                               /s/ Aaron Anglin
                                               Aaron Anglin
                                               Georgia Bar No. 585863
                                               Attorney for Debtor
                                               699 Piedmont Avenue, NE, Atlanta, Georgia 30308
                                               (404) 564-9300
                                               aanglin@joneswalden.com
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                GAINESVILLE DIVISION

 IN RE:
                                                     CHAPTER 13
 TRACI MARIE ST. CLAIRE,
                                                     CASE NO. 21-21231-jrs
            Debtor.

                      MOTION TO APPROVE LOAN MODIFICATION

       COMES NOW Traci Marie St. Claire (the “Debtor”) and respectfully requests that this

Court enter an Order approving the Loan Modification Agreement (the “Loan Modification”) to

be entered into by the Debtor and Selene Finance, LP as attorney in fact for U.S. Bank Trust

National Association, not in its individual capacity but solely as trustee for RCF 2 Acquisition

Trust c/o U.S. Bank Trust National Association (“Selene”).

       1.       A copy of the Loan Modification (executed by the Debtor only) is attached hereto

as Exhibit A.

       2.       The essential terms of the Loan Modification are:

                a. The modified principal balance of the Loan shall be $127,935.91 as of July 1,
                   2022 and shall bear interest from July 1, 2022 at the yearly rate of 5%.

                b. The monthly payments of principal and interest shall be $686.79, plus other
                   amounts required under the subject loan documents (escrow, etc.), with the
                   first payment due on August 1, 2022.

                c. The final monthly payment plus all other amounts due and owing under the
                   subject loan documents shall be due on July 1, 2052.

       3.       Upon information and belief, approval of the Loan Modification will eliminate the

balance owed on the prepetition arrearage of $37,407.40 stated in the Proof of Claim filed by

Selene on February 9, 2022 [Claim No. 9-1].
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       4.     Approval of the Loan Modification will also reduce the Debtor’s required monthly

principal and interest payment by $73.87 per month.

       WHEREFORE, the Debtor respectfully requests that this Court enter an Order granting

the instant Motion, approving the Loan Modification, and granting such other and further relief

as the Court deems just and proper.

       Respectfully submitted this 20th day of July 2022.

                                            JONES & WALDEN LLC
                                            /s/ Aaron Anglin
                                            Aaron Anglin
                                            Georgia Bar No. 585863
                                            699 Piedmont Ave. NE
                                            Atlanta, Georgia 30308
                                            (404) 564-9300
                                            aanglin@joneswalden.com
                                            Attorney for Debtor
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                         Exhibit A
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                               GAINESVILLE DIVISION

 IN RE:
                                                      CHAPTER 13
 TRACI MARIE ST. CLAIRE,
                                                      CASE NO. 21-21231-jrs
          Debtor.

                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this day electronically filed the foregoing Motion to Approve
Loan Modification (the “Motion”) using the Bankruptcy Court’s Electronic Case Filing program,
which sends a notice of and an accompanying link to the Motion to the following parties who have
appeared in this case under the Bankruptcy Court’s Electronic Case Filing Program:

   •   Andrea Lynn Betts abetts@raslg.com
   •   Laura Egerman legerman@rasnj.com, bkyecf@rasflaw.com;ras@ecf.courtdrive.com
   •   Nancy J. Whaley ecf@njwtrustee.com

       This 20th day of July, 2022.
                                               JONES & WALDEN LLC
                                               /s/ Aaron Anglin
                                               Aaron Anglin
                                               Georgia Bar No. 585863
                                               699 Piedmont Ave. NE
                                               Atlanta, Georgia 30308
                                               (404) 564-9300
                                               aanglin@joneswalden.com
                                               Attorney for Debtor
